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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA
Criminal No, 24-248 (KMW)

ORDER FOR CONTINUANCE

DALE CHAPPELL

This matter having come before the Court on the joint application of the
United States, by Vikas Khanna, Acting United States Attorney for the District of
New Jersey (Katherine M. Romano, Assistant U.S. Attorney, appearing), and
defendant Dale Chappell (Jonathan Sack, Esq., appearing), for an order granting a
continuance of proceedings in the above-captioned matter; and the defendant being
aware that he has the right to have this matter brought to trial within 70 days of
the date of his appearance before a Judicial officer of this court pursuant to 18
U.S.C. § 8161(c)(1); and the defendant having consented to such continuance and
having waived such right; and for good cause shown,

IT 1S THE FINDING OF THIS COURT that this action should be continued
for the following reasons:

1. This case is an unusual or complex case within the meaning of the
Speedy Trial Act, 18 U.S.C. § 8161(h)(7)(B) Gi), in hight of the nature of the

prosecution and the existence of novel questions of fact or law, such that it is

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unreasonable to expect adequate preparation for pretrial proceedings or for the trial
itself within 70 days.

2. The discovery in the case is expected to be voluminous, consisting of,
among other things, internal corporate communications, trading records, securities
filings, and Food and Drug Administration (“FDA”) records relating to the review of
an Emergency Use Authorization (“HUA”) application for a new drug, and
additional time is necessary to ensure that, taking into account the exercise of
diligence, defense counsel have sufficient time to review and inspect discovery and
further investigate the charges in this matter.

3, Asa result of the foregoing, pursuant to 18 U.S.C. § 8161(h)(7)(A)
and (h)(7)(B)Gi) and (iv), the ends of justice served by the granting of this
continuance outweigh the best interests of the public and the defendant in a speedy
trial.

TT IS, therefore, on this » g “— day of February, 2025,

(1) ORDERED that this action be, and hereby is, continued until
June 80, 2025; and it is further

(2) ORDERED that the period from the date of this order through
June 30, 2025 be and it hereby is excluded in computing time under the Speedy
Trial Act of 1974, 18 U.S.C. § 3161 et seq.

gS ———

Honorable Karen M. Williams
United States District Judge

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Consented to as to form and entry:

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Katherine M. Romano
Assistant U.S. Attorney

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Joffathan Sack, Esq.
Counsel for Defendant Dale Chappell

